              Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 1 of 40 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)           ‫ ܆‬Original    ‫ ܆‬Duplicate Original

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      CLERK, U.S. DISTRICT COURT         UNITED STATES DISTRICT COURT
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                                                           for the                                        FILED
    CENTRAL DISTRICT OF CALIFORNIA
                 '0
      BY: ___________________ DEPUTY
                                                                                                 CLERK, U.S. DISTRICT COURT

                                                Central District of California
                                                                                                     8/28/2020
 United States of America
                                                                                            CENTRAL DISTRICT OF CALIFORNIA

                           v.                                                                            DL
                                                                                              BY: ___________________ DEPUTY


                                                                      8:20-mj-00591
 MARK FITTING,
 MELONY ERICE,                                                       Case No. PM
 GEORGE POSEY IV, and
 DEAN MIRABAL,

                           Defendants


                                        CRIMINAL COMPLAINT BY TELEPHONE
                                       OR OTHER RELIABLE ELECTRONIC MEANS
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of December 8, 2018, in the county of Orange in the Central District of California, the

defendants violated:

              Code Section                                           Offense Description
                                                                     Theft of Government Property; Aiding
              18 U.S.C. §§ 641, 2(a)                                 and Abetting

          This criminal complaint is based on these facts:

            Please see attached affidavit.

          _ Continued on the attached sheet.
                                                                                           6
                                                                                    Complainant’s signature

                                                                                 Marc Nelson, Special Agent
                                                                                     Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                                                                                           y telephone.
                                                                                                 p

 Date:                          
                                                                                       Judge’s signature

 City and state: Los Angeles, California                              Hon. Rozella A. Oliver, U.S. Magistrate Judge
                                                                                    Printed name and title
 Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 2 of 40 Page ID #:2



                                AFFIDAVIT

     I, Marc Nelson, being duly sworn, declare and state as

follows:
                      I.    PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of a criminal

complaint and arrest warrants against MARK FITTING (“FITTING”),

MELONY ERICE (“ERICE”), GEORGE POSEY IV (“POSEY IV”), and DEAN

MIRABAL (“MIRABAL”) for a violation of Title 18, United States

Code, Sections 641, 2(a) (Theft of Government Property; Aiding

and Abetting).

     2.    This affidavit is also made in support of an

application for a warrant to search 1542 Monrovia Avenue,

Newport Beach, CA 92663 (“SUBJECT PREMISES 1”) as described more

fully in Attachment A-1 and 442 E. Bay St., Costa Mesa, CA 92627

(“SUBJECT PREMISES 2”) as described more fully in Attachment A-

2.

     3.    The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of

Title 18, United States Code, Sections 371 (Conspiracy), 641

(Theft of Government Property), 1832 (Theft of Trade Secrets),

and 1343 (Wire Fraud) (collectively, the “Subject Offenses”), as

described more fully in Attachment B.        Attachments A-1, A-2, and

B are incorporated herein by reference.

     4.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from other agents and witnesses.          This

affidavit is intended to show merely that there is sufficient



                                    1
 Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 3 of 40 Page ID #:3



probable cause for the requested complaint and warrants, and

does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.
                      II.   BACKGROUND OF AFFIANT

     5.     I am a Special Agent with the United States Department

of Defense (“DOD”), Office of the Inspector General (“OIG”),

Defense Criminal Investigative Service (“DCIS”), in Valencia,

California, and have been so employed since April 2019.           Prior

to my employment at DCIS, I worked as a Special Agent for the

Office of Personnel Management, OIG for approximately five

years, and as a Senior Investigator with the United States

Department of Labor, Employee Benefits Security Administration.

I am a graduate of the Criminal Investigator Training Program

and the Inspector General Academy at the Federal Law Enforcement

Training Center in Glynco, Georgia.       I have received specialized

training in the investigation of various financial and white

collar crimes and I have personally conducted or assisted in the

investigation of violations of U.S. law to include conspiracy,

theft, mail fraud, wire fraud, health care fraud, and identity

theft.    In addition, I have received both formal and informal

training regarding computer-related investigations and computer

technology.
                   III. SUMMARY OF PROBABLE CAUSE

     6.     Through his employment with the United States

Government, U.S. Navy civilian engineer FITTING accessed and
 Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 4 of 40 Page ID #:4



downloaded government-controlled technical drawings and manuals

that he subsequently sold to Newport Aeronautical Sales

Corporation (“NASC”), an international supplier of aerospace

technical data, located in Newport Beach, California, through

ERICE, a former cohabitant.      NASC then sold the stolen

government-controlled technical manuals and drawings to various

customers in and outside of the United States.         NASC has

purchased stolen government-controlled technical drawings and

manuals from FITTING and/or ERICE since at least 2012, but may

have been acquiring such stolen government-controlled technical

drawings and manuals from FITTING and/or ERICE since

approximately 2008.     Within NASC, MIRABAL is responsible for

submitting inquiries to ERICE and for the subsequent sale of

stolen government-controlled technical manuals and/or drawings.

POSEY IV communicates with ERICE with respect to payments for

the stolen government-controlled technical drawings and manuals

and obtaining credit for cancelled orders.        Based on our

investigation, agents believe MIRABAL and POSEY IV are aware of

the appropriate processes to procure government-controlled

technical manuals and drawings and, as a result, they know that

the acquisition of such manuals and drawings from ERICE and/or

FITTING is unlawful.     Agents also believe that NASC employees,

including MIRABAL and POSEY IV, may be unlawfully obtaining

government-controlled technical manuals from additional sources.

     7.    In one such instance, on December 8, 2018, at the

request of MIRABAL, FITTING accessed and downloaded a

government-controlled technical drawing for a military landing
 Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 5 of 40 Page ID #:5



craft air cushion that he and ERICE sold to NASC, along with at

least 16 other government-controlled technical drawings and/or

manuals, for $5,025.      Knowing the drawing was unlawfully

procured outside of official government channels, POSEY IV paid

ERICE for the drawing.      NASC sold the drawing to a customer for

$325.

        8.    As described herein, NASC conducts business at SUBJECT

PREMISES 1, where recent surveillance confirms MIRABAL continues

to operate.     POSEY IV also conducts NASC business from his

residence, SUBJECT PREMISES 2.      There is probable cause to

believe that evidence, fruits, and instrumentalities of the

Subject Offenses will be found within both locations.
                    IV.   STATEMENT OF PROBABLE CAUSE

        A.    FITTING Emails Government-Controlled Technical
              Drawings and Manuals to ERICE’s Gmail Account

        9.    Based on my review of DOD employee records, I know

that FITTING is a General Schedule, Grade 13         (“GS-13”), Step

10, classified civilian federal employee.        FITTING is employed

by the U.S. Navy in Philadelphia, Pennsylvania, and resides in

Berlin, New Jersey.

        10.   Based on my investigation in this case and information

I have received from U.S. Navy information technology employees,

I am aware that the Navy has issued FITTING an account to access

a U.S. Government Information System for authorized purposes as

part of his employment.      The account includes an email address

-- mark.fitting@navy.mil.      The Navy also issued FITTING a

computer to access the information system.        Prior to receiving
 Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 6 of 40 Page ID #:6



account access, FITTING was required to acknowledge the

limitations on the use of the account for authorized purposes

only and that the account is subject to routine monitoring.

Each time he logs in to his account, FITTING is required to

enter user-specific login information and acknowledge a warning

banner.       The warning banner advises that the information system

is provided for authorized use only and that users consent to

routine intercept and monitoring for purposes including, but not

limited to, personnel misconduct and law enforcement

investigations.       It further advises that the government may

inspect and seize data stored on the information system at any

time.    FITTING is unable to access his computer without logging

in to the information system.      I am also aware that to maintain

his account access, FITTING is required to complete annual

training requirements that address the use of government data,

misuse of government computer systems, and counterintelligence

vulnerabilities.

        11.    I am aware that agents from the DCIS and the NCIS

accessed FITTING’s information system account and emails to

investigate a claim that FITTING was interfering with the

quality assurance process for aircraft canopies intended for use

in U.S. military aircraft.       While conducting this review, the

agents found at least 24 emails that were sent from FITTING’s

Navy email account to melonyerice@gmail.com (“ERICE’s Gmail

account”) from March 6, 2019, to May 9, 2019.         All of the emails

had digital files containing government-controlled technical

drawings or manuals related to various military weapons systems,
 Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 7 of 40 Page ID #:7



including aircraft, attached.      Based on my review of these

attachments, I know that some of those drawings and manuals were

specifically labeled with International Traffic in Arms

Regulations (“ITAR”) 1 distribution warnings related to export

control and destruction, as well as DOD contractor proprietary

markings.

     12.    Agents reviewed the metadata for the digital files

attached to the emails FITTING sent to ERICE’s Gmail account and

learned that at least 13 of the drawings were downloaded

electronically from the DOD’s Joint Engineering Data Management

Information and Control System (“JEDMICS”). 2        Agents also located

an email from FITTING to the Naval Supply Systems Command Weapon

Systems Support Security Office, dated January 30, 2019, in

which he requested to renew his access to JEDMICS.          Based on my

review of the metadata, my knowledge of FITTING’s access to

JEDMICS, and FITTING’s use of his Navy email to send the

drawings and manuals, I believe that FITTING used his access to




     1 The U.S. Department of State, Directorate of Defense Trade
Controls (“DDTC”) is charged with controlling the export and
temporary import of defense articles and defense services
covered by the United States Munitions List (“USML”) and
promulgated the ITAR, Title 22, Code of Federal Regulations,
Parts 120-130, to implement the Arms Export Control Act
(“AECA”), 22 U.S.C. § 2778. The USML is included in the ITAR at
22 C.F.R. § 121.1.
     2 Based on internet queries, I know that JEDMICs is a
digital repository for approved DOD engineering drawings that
permits access to technical drawings through the internet with
an authorized account and password. Account applicants are
required to submit an access request form for the purpose of
validating the trustworthiness of individuals requesting access
to DOD systems and information.
 Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 8 of 40 Page ID #:8



a U.S. Government Information System to unlawfully obtain copies

of government-controlled technical drawings and manuals.

     13.    I reviewed a System Authorization Access Request

(“SAAR”) that was signed by FITTING for Air Force JEDMICS

access.    The following information was included in the SAAR:

            a.   I accept full responsibility for the protection

and destruction of limited (proprietary), and distribution of,

controlled data. I will safeguard the data to the degree that it

shall not be released outside the government nor be used,

released or reproduced in whole or in part for any reason except

where permitted by contract (18 USC 1905 and DOD 5400.7-R

AFSUP1).

     14.    I reviewed Google account subscriber records for the

email address melonyerice@gmail.com and learned that the name of

the account holder is ERICE and the recovery email address is

m.erice@daher.com.    Based on my review of public information

databases and bank records, I know that ERICE is employed by

Daher-Socata, a French company that produces general aviation

aircraft, and currently resides in Lighthouse Point, Florida.            I

also know that ERICE previously cohabitated with FITTING in

Berlin, New Jersey, beginning in approximately June 2006.

     15.    Based on my investigation in this case, I do not

believe that FITTING was lawfully authorized to send ERICE any

of these government-controlled technical drawings or manuals, or

any of the government-controlled technical drawings or manuals

discussed further below.     Further, I believe that FITTING’s

accessing, downloading, and sending these government-controlled
 Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 9 of 40 Page ID #:9



technical drawings and manuals to ERICE constitutes a theft of

government property.
     B.    The Same IP Address Accesses FITTING and ERICE’s Gmail
           Accounts

     16.   During the review of FITTING’s U.S. Navy account

described above, agents found an email from

markfitting@gmail.com (“FITTING’s Gmail account”) to FITTING’s

U.S. Navy email account on April 23, 2019.        I reviewed

subscriber information for FITTING’s Gmail account, which lists

FITTING as the account holder and the recovery email address as

FITTING’s Navy email account, mark.fitting@navy.mil.

     17.   I reviewed Internet Protocol (“IP”) connection logs

for the Gmail accounts belonging to FITTING and ERICE for the

period of December 2018 to August 2019.        The connection logs

listed the IP addresses 3 that were used to access the accounts

during the period of review.      From approximately December 20,

2018, through approximately August 23, 2019, the IP address

96.248.93.35 was regularly used to access FITTING’s Gmail



     3 An IP address is a unique numeric address used by
computers on the Internet. An IP address is a series of four
numbers, each in the range of 0-255, separated by periods (e.g.,
121.56.97.178). Every computer attached to the Internet must be
assigned an IP address so that Internet traffic sent from and
directed to that computer may be directed properly from its
source to its destination. Many companies control a range or a
block of IP addresses. A single IP address can manage Internet
traffic for more than one computer or device, such as when a
router in one’s home routes traffic to one’s desktop computer,
as well as one’s tablet or smartphone, while all using the same
IP address to access the Internet. A newer system used by some
computers or networks, referred to as IP version 6, serves the
same function and uses a longer value that is a combination of
numbers and letters (allowing for more addresses).
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 10 of 40 Page ID #:10



account.    I queried that IP address using iplocation.com 4 and

learned that the IP address geolocates to Berlin, New Jersey.            I

also noticed that the same IP address, 96.248.93.35, was

frequently used to access ERICE’s Gmail account.         Agents

obtained subscriber records from Verizon and learned that the IP

address 96.248.93.35 is associated with FITTING’s Verizon

account and the customer address is FITTING’s residence in

Berlin, New Jersey.

     18.    Based on this information, I believe that FITTING

unlawfully sends government-controlled technical drawings and

manuals accessed through his employment with the Navy to ERICE’s

Gmail account, then accesses those drawings and manuals through

ERICE’s Gmail account.     As described further below, I also

believe that FITTING and ERICE sell the government-controlled

technical drawings and manuals to NASC.
     C.     NASC Issued Checks to ERICE Totaling $509,845

     19.    Based on internet queries, I know that NASC is a

corporation based in Newport Beach, California.         NASC markets

itself as the largest independent supplier of aerospace

technical data and solicits technical manuals and drawings for

aircraft.    Specifically, NASC’s website, newportaero.com 5,

states, “From legacy aircraft to latest revision; Newport is

always looking to expand its capabilities.        Do you have

technical data or a technical library that Newport might be


     4 Iplocation.com is an online service that provides a
geographical location and organization association for any IP
address.
     5 Last accessed August 7, 2020.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 11 of 40 Page ID #:11



interested in?    Please send us an email at sales@newportaero.com

to discuss how we can work together.”

     20.   I reviewed records for a Bank of America account

ending 7869 held in ERICE’s name at ERICE’s residence in

Lighthouse Point, Florida.      The account was previously held in

ERICE’s name at FITTING’s residence in Berlin, New Jersey.           I

also reviewed Union Bank and Chase Bank records for NASC. 6

Between September 21, 2012, and June 20, 2019, NASC issued ERICE

approximately 150 checks, totaling approximately $509,845.           Most

of the checks that were issued to ERICE by NASC appear to have

been deposited into the Bank of America account ending 7869 at

Bank of America ATMs located in Berlin, New Jersey.          During the

time period reviewed, the first check issued by NASC to ERICE

was on September 21, 2012, and deposited on October 22, 2012.
     D.    FITTING and ERICE Split the NASC Proceeds

     21.   I obtained and reviewed surveillance video for several

of the ATM transactions that took place in Berlin, New Jersey.

On at least four occasions, FITTING can be seen depositing an

NASC check into the Bank of America account ending 7869 held in

ERICE’s name.    Further, on at least one occasion, FITTING can be

seen withdrawing cash from the Bank of America account ending

7869 at an ATM in Newhall, California, on August 7, 2019, then

depositing cash into a Bank of America account ending 7196 held

in FITTING’s name minutes later.




     6 Union Bank and Chase Bank records list the address of
record for the accounts as SUBJECT PREMISES 1.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 12 of 40 Page ID #:12



        22.   I reviewed Chase Bank records for a Chase Ink Business

credit card account ending 3759 held in the name of FITTING at

FITTING’s address in Berlin, New Jersey, for the period of

August 2014 to August 2019.      ERICE is listed as an authorized

card holder on the account with a credit card ending with 1231.

From approximately August 2014 to July 2019, I observed that

ERICE’s card was used to make purchases totaling approximately

$55,171.17.     During that same period, FITTING’s card was used to

make purchases totaling only approximately $4,625.93.          For the

entire time the account was active, the records indicate that

FITTING made the monthly payments.       In particular, for the

period of November 2016 to August 2019, monthly payments to the

account were made from a Truist Bank -- at the time Branch

Banking and Trust Company (BB&T) -- account registered to

FITTING at FITTING’s address in Berlin, New Jersey.

        23.   Bank records reflect that this arrangement began

earlier than November 2016, however.       For example, ERICE made

purchases of $1,599.98 on the Chase Ink Business credit card

during the billing cycle of April 12, 2015, through May 11,

2015.    One of those purchases was made at “EF Tire & Auto

Repair,” in Pompano Beach, Florida, on April 16, 2015, in the

amount of $1,118.30.     FITTING did not use his credit card to

make any purchases during that billing cycle.         On June 1, 2015,

FITTING’s Susquehanna bank account -- a predecessor to his

Truist Bank account -- was used to make a payment for the

statement balance of $1,599.98.
        E.    FITTING and ERICE Discuss Splitting the NASC Proceeds
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 13 of 40 Page ID #:13



     24.     On October 10, 2019, the Honorable Frederick F. Mumm,

United States Magistrate Judge, Central District of California,

authorized a warrant for information associated with FITTING and

ERICE’s Gmail accounts in case number 2:19-MJ-04310 (the “Gmail

warrant”).

     25.     During my review of the information obtained pursuant

to the Gmail warrant, I found an email dated April 12, 2015,

sent from ERICE’s Gmail account to ERICE’s Gmail account (same

email address as sender) in which FITTING and ERICE discussed

their sale of government-controlled technical drawings and

manuals to NASC.    Specifically, the email read:

          Mark, This is what I got from the dates listed
     above. I didn’t gamble in January or February of 2015.
     Thank goodness I am nipping this in the bud. Maybe
     this was a good idea, seeing the amounts on paper.
     Yes I did waste a lot of money but it could have been
     way worse. Between the money that I wasted gambling
     and buying pills I could have a brand new car. Aside
     from all of that I feel terrible but Mark I am sorry
     to say I must let this go from my mind so I don’t
     dwell on it. Instead I am going to try to concentrate
     on more positive things…
          From March 2015 thru April 2015.
          $1942.50 Total from dates of 3/9, 3/11, 3/16,
     3/19, 4/2, 4/6, 4/8, and 4/9.
          This includes all cash withdrawals from my
     account as well as withdrawals from transfers,
          All fees and overdraft charges incurred due to
     poor account management and direct withdrawals from
     casino ATMs.
          Moneys deposited in NJ account by you…$7300.00 of
     which $1825.00 was my portion.
          Total deposited this year by you $11610.00.
          As bad as this is, it could have been way worse.
     You are 100% correct I would have my own saved money
     to fix the car. At least I am working to fix things
     and get myself back under control.
          I know it is wrong to move monies around without
     discussing it with you first and I won’t do it
     anymore. Now as far as the credit card goes…I would
     like you to print from Chase not your spread sheet
     monthly credit balance since 2012. Those monthly
     balances will be used against deposits made and even
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 14 of 40 Page ID #:14



     adding in FPL credit card…you are going to come out
     extremely close to even if not in your favor. But all
     of that is fine. Please lets not fight over this due
     to selfishness, we are smarter than that, This has
     benefitted us both very well over these last 7 years.
     Lets not be foolish by making important decisions on
     high emotions. I know you want best for me but me at
     25% and you at 75% is way better than both at 0.00%.
     My portion of the process is just important as your
     portion that’s what a team is…together working
     together for one common goal. It’s not my fault my
     portion doesn’t take the amount of physical time that
     yours does but that is why you get 75%. I have always
     trusted you and continue to trust you. George is my
     friend and will do what ever I tell him to do. Lets
     just move forward and put past in the past. I can’t
     move forward if I continue to dwell on the past. I
     thank you for everything that you do for me and I love
     you for it. Finally as I sit here writing this I can
     honestly say this is the clearest my mind has been in
     weeks from kicking opiates and having pneumonia and
     all of those meds, my guilt and terrible self
     destructiveness. I am going to work hard again to be
     more of the person that I want to be, a better mother,
     daughter, sister, worker, friend and person in
     general. I will try to gain some better coping
     skills. Unfortunately it is difficult to talk to you
     or anyone because people see me as weak and a failure.
     No more of that…but this has been my pattern.

          Call me later. I am in and out no necessarily
     with phone on me every minute so don’t freak if I
     don’t answer. Joshua is coming by this afternoon.

           Love ya, M

           a.    Based on my review of the email, I believe that

FITTING and ERICE both access and use ERICE’s Gmail account.           I

believe ERICE’s statement about her friend “George,” was a

reference to NASC’s President and CEO, George Posey III (“Posey

III”).   And I believe the discussion regarding finances is

related to the sharing of the proceeds received from NASC

whereby FITTING receives approximately 75% of the proceeds and

ERICE receives the remaining 25%.       Because ERICE has a

connection to NASC (“George is my friend and will do what ever I
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 15 of 40 Page ID #:15



tell him to do”) and is presented as the seller of the drawings

and manuals to NASC (e.g., emails are sent to and from her Gmail

account and payment is issued in her name), I believe that

FITTING provides her with 25% of the proceeds (“me [ERICE] at

25%”) even though he is the one who accesses the government-

controlled technical drawings and manuals and sends them to NASC

(“my [ERICE’s] portion doesn’t take the amount of physical time

that yours [FITTING’s] does but that is why you get 75%”).

     26.   During the review of ERICE’s Bank of America account

records discussed above, agents observed three NASC checks

payable to ERICE totaling $7,300 were deposited during the

period of March 5, 2015, through April 6, 2015.         Agents believe

that ERICE referenced these deposits in her email, noting that

FITTING made the deposits (“Moneys deposited in NJ account by

you…$7300.00”), and discussed their agreement to split the

proceeds (“of which $1825.00 was my portion”).         This split was

consistent with the agreement to split proceeds discussed above

-- $1,825 is 25% of $7,300.
     F.    Identification of MIRABAL and POSEY IV

     27.   Based on my review of California Employment

Development Department (“EDD”) records, I am aware that NASC

employees three individuals: Posey III, POSEY IV, and MIRABAL.

     28.   During a review of the information obtained pursuant

to the Gmail warrant, agents discovered thousands of emails

between ERICE’s Gmail account and email accounts associated with

NASC, in particular MIRABAL and POSEY IV, discussing the

availability and sale of government-controlled technical manuals
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 16 of 40 Page ID #:16



and drawings.    On February 10, 2020, the Honorable Jacqueline

Chooljian, United States Magistrate Judge, Central District of

California, authorized a warrant for information associated with

five NASC email accounts, including accounts used by MIRABAL and

POSEY IV, in case number 2:20-MJ-00590 (the “NASC email

warrant”).

     29.     Agents identified MIRABAL as the user of the email

address dean@newportaero.com (the “MIRABAL email account”).

Based on my review of EDD records, I am aware that MIRABAL has

been employed by NASC since at least March 2010.         Based on my

review of California Department of Motor Vehicles (“DMV”)

records and surveillance performed pursuant to this

investigation, I am aware that MIRABAL resides at 2912

Peppertree Ln., Apt. C, Costa Mesa, CA 92626.         On February 16,

2017, MIRABAL sent an e-mail from dean@newportaero.com and said

the following: “This is Dean Mirabal and here are the noise my

dryer is still making after your guy can (sic) and fixed it.

Please let me know what needs to be done to fix the noise…2912

PEPPERTREE LANE APT#C COSTA MESA, CA. 92626…”         During the review

of e-mails, agents did not identify anyone other than MIRABAL

that appeared to use dean@newportaero.com.        Based on my review

of emails obtained pursuant to the NASC email warrant, and as

discussed further below, I believe that MIRABAL handles day-to-

day customer requests and is responsible for inquiries to ERICE

and others regarding the acquisition and subsequent sale of

stolen government-controlled technical manuals and/or drawings

obtained from ERICE and others.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 17 of 40 Page ID #:17



     30.   Agents identified POSEY IV as the user of the email

address mac@newportaero.com (the “POSEY IV email account”).

Based on my review of EDD records, I am aware that POSEY IV has

been employed by NASC since at least March of 2010.          Based on my

review of DMV records and surveillance performed pursuant to

this investigation, I am aware that POSEY IV resides at 442 E.

Bay St., Costa Mesa, CA 92627 (SUBJECT PREMISES 2).          POSEY IV is

also the son of NASC’s President, Posey III.         On July 11, 2017,

POSEY IV sent an e-mail from mac@newportaero.com with a subject

line “RE: 442 E Bay”, the e-mail contained two pay stubs for

POSEY IV from NASC.     One pay stub was dated May 26, 2017, and

the other pay stub was dated June 9, 2017.        The e-mail appears

to be related to POSEY IV obtaining a loan to purchase SUBJECT

PREMISES 2.   During the review of e-mails, agents did not

identify anyone other than POSEY IV that appeared to use

mac@newportaero.com.     Based on my review of emails obtained

pursuant to the NASC email warrant, I believe that POSEY IV

deals with ERICE and/or FITTING with respect to payments for

stolen government-controlled technical drawings and manuals and

for obtaining credit for cancelled orders.

     31.   For example, POSEY IV sent an email to ERICE’s Gmail

account on January 12, 2017, writing, “Melony, We switched

banks. Couple of checks are on their way out.         Future checks

will be sent on schedule per our 3 invoice agreement. Just

wanted to give you a heads up…”

     32.   Similarly, on October 6, 2016, POSEY IV sent an email

to ERICE’s Gmail account, writing, “Melony, Hope all is well.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 18 of 40 Page ID #:18



Wanted to touch base about future availability. Do you foresee

yourself having the same availability on drawings for the coming

future? Let’s say the next 5+ years? Thanks, we appreciate your

support.”

     33.     On March 12, 2018, POSEY IV sent an email to ERICE’s

Gmail account, writing, “Melony, I noticed you have a couple of

checks you have not cashed. Is there a better address for me to

send them to? Also wanted to see what your outlook is for the

next 5-10 years. Do you see any changes in your availability to

drawings?”

     34.     On March 14, 2018 ERICE and/or FITTING replied to

POSEY IV: “Mac, I don’t see any changes. However, I may have to

raise my prices if you continue to request drawings and then not

place the orders.”
     G.      MIRABAL and POSEY IV are Aware of the Appropriate
             Processes to Procure Government-Controlled Technical
             Drawings and Manuals

     35.     During my review of their respective emails, I

discovered emails in which MIRABAL and POSEY IV inquired about

the availability of government-controlled technical drawings and

manuals from the Naval Air Technical Data and Engineering

Service Command (“NATEC”).      Specifically, on March 20, 2018,

MIRABAL emailed a Logistic Management Specialist at NATEC and

said, “Meliza, Checking availability. NAVIST

13120.1D…Respectfully, Dean Mirabal”.        On March 21, 2018, a

Logistic Management Specialist at NATEC replied to MIRABAL

writing, “Hi Dean, NAVINST 13120.1D – This manual is not

releasable under QCP program.      Denied by the controlling
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 19 of 40 Page ID #:19



activity…”    On June 9, 2016, POSEY IV emailed a Logistic

Management Specialist at NATEC, writing, “Meliza, Please order

this one: A1-T6AAA-2…”     On June 29, 2016, he wrote, “Meliza,

Following up on the below: (referencing the June 9, 2016

email)”.   On June 30, 2016, a Logistic Management Specialist at

NATEC replied, “Mac, This has been denied by the controlling

activity.”

     36.     I also reviewed emails in which POSEY IV inquired

about the availability of technical manuals and/or drawings from

the U.S. Air Force.     Specifically, on August 11, 2014, POSEY IV

received an email from the Air Force Public Sales Office which

read, “Mr. Posey, If you wish to request the following data then

you will be required to follow the instructions that I have

provided for you…Please be specific on your intended use.           We

ask that you provide a contract number or solicitation number or

some kind of verifiable proof documentation/information and or

agreement before we release data…”

     37.     Further, on March 9, 2016, POSEY IV replied to a

potential customer, who was inquiring about the availability of

a drawing, writing: "Elmo, They are worth a shot.          The AF won't

release anything to us without a contract and as we never get

contracts I no longer have any POCs.       Here is their website,

their help desk or 1800 number have been helpful in the

past....http://www.tinker.af.mil"

     38.     I also reviewed emails where POSEY IV makes Freedom of

Information Act (“FOIA”) requests for NAVAIR publications.

Based on my review, NATEC has denied some of NASC’s requests
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 20 of 40 Page ID #:20



based on the “controlling activity” -- a reference to the DOD

entity with responsibility for the applicable technical drawing

or manual -- and the FOIA requests appear to take years to

process.

     39.   Based on my review of the emails discussed above, and

my investigation in this case, I believe that POSEY IV and

MIRABAL are aware of the proper procedures to acquire

government-controlled technical drawings and manuals.

     40.   Further, HSI and DCIS agents interviewed Posey III and

POSEY IV in June 2018 pursuant to a separate investigation.

Agents identified themselves to Posey III and POSEY IV, and

conducted a Project Shield America (“PSA”) briefing and an

interview. 7   The PSA and interview were conducted in Posey III’s

office located inside of NASC (SUBJECT PREMISES 1).          During the

interview, Posey III and POSEY IV provided a list of their

sources for technical manuals and drawings, including certain

individuals and companies, FOIA requests, direct sales from the

DOD, and from government surplus.       Posey III and POSEY IV did

not identify ERICE or FITTING as a source of technical drawings

or manuals for NASC.
     H.    FITTING and ERICE Sell Government-Controlled Technical
           Drawings and Manuals to NASC

     7 PSA is an industry outreach and source development
initiative developed by HSI to prevent the illegal export of
sensitive U.S. munitions and strategic technology to terrorists,
criminal organizations, and foreign adversaries. PSA is an
integral part of the HSI strategy to combat the trafficking of
Weapons of Mass Destruction and their components as well as the
trafficking of conventional weapons and controlled technology.
The initiative includes visiting manufacturers, distributors,
exporters, and freight forwarders in an effort to educate them
and to solicit their support in export compliance.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 21 of 40 Page ID #:21



           1.    September 2015 Sale

     41.   On January 19, 2016, ERICE’s Gmail account sent an

email to Posey III’s email (george@newportaero.com), which

included an attached invoice from “M&M Associates” -- presumably

for MARK FITTING and MELONY ERICE.       The invoice, dated October

12, 2015, listed FITTING’s residential address in Berlin, New

Jersey, as the business address.       The invoice identified fifteen

technical drawings and/or manuals that “M&M Associates” sold to

NASC, including: PWA 79345, NAS 1193, NAS 509, 70103-11007,

70103-11009, 695813, 70307-03007, 65368, and 128SHC142.           The

invoice listed the number of pages and cost per drawing, as well

as a total amount of $1,400.      According to the invoice, the

drawings were sent to NASC via FedEx, with tracking number

805484469376.

     42.   I reviewed bank records for accounts belonging to NASC

and ERICE and discovered that NASC issued a check to ERICE on

January 19, 2016, in the amount of $1,400.        The check was

deposited into ERICE’s Bank of America account on March 4, 2016.

     43.   Agents identified an inquiry from an NASC customer 8 to

MIRABAL on September 28, 2015, requesting certain technical

drawings and manuals, including PWA 79345-4, NAS 1193E6C, NAS

1193K6C, NAS 509-6, NAS 509L6, 70103-11007, 70103-11008, and

70103-11009.



     8 Based on my review of the e-mails, I believe that the
sender is a customer of NASC that is based in Melville, NY,
because the name of the company in the e-mail is the same
company name in an invoice, discussed further below, showing the
company purchased the drawings from NASC.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 22 of 40 Page ID #:22



     44.   On September 28, 2015, MIRABAL emailed ERICE to check

the availability of PWA 79345-4, NAS 1193E6C, NAS 1193K6C, NAS

509-6, NAS 509L6, 70103-11007, 70103-11008, and 70103-11009.

     45.   On October 4, 2015, ERICE emailed MIRABAL: “Dean,

Drawings PWA 79345-4, NAS 1193E6C, NAS 1193K6C, NAS 509-6, NAS

509L6, 70103-11007, and 70103-11009 are available. Please send

confirmation and I will order them…Drawings PWA79345-4, 70103-

11007, and 70103-11009 are marked “Export Controlled”. NAS 1193

lists part numbers NAS1193E6C and NAS 1193K6C…NAS509 lists part

numbers NAS509-6 and NAS509L6…Drawing 70103-11008 is marked

“Limited Rights” so I can’t get it.”

     46.   On October 5, 2015, MIRABAL emailed the NASC customer:

“Drawings PWA79345-4, 70103-11007, and 70103-11009 are

available, each priced at $325... NAS 1193 lists part numbers

NAS1193E6C and NAS 1193K6C…NAS509 lists part numbers NAS509-6

and NAS509L6.

     47.   That same day, MIRABAL emailed ERICE: “Melony, Please

send me all 7 of these ones.”

     48.   Agents identified a NASC invoice dated October 15,

2015, attached to an e-mail sent from MIRABAL to the NASC

customer that was inquiring about the drawings.         The invoice

lists the following drawings: PWA 79345, NAS 1193, NAS 509,

70103-11007, 70103-11009, 695813, 70307-03007, 65368, and

128SHC142, all priced at $325 each.       The invoice indicates a

total of $2,925, which was paid by a VISA on October 15, 2015.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 23 of 40 Page ID #:23



           2.    December 2018 Sale

     49.   On November 30, 2018, another NASC customer 9 emailed

MIRABAL requesting Navy drawing 5749831-007.         The e-mail subject

line read: “Navy drawing, 5749831-007, Wire Rope Assy, NSN 4101-

01-317-6375”.    The body of the e-mail read, in part: “Hello

again Dean…Please order the above drawing for us and bill to our

Visa on file…Thank you!”

     50.   On November 30, 2018, MIRABAL emailed ERICE’s Gmail

account: “Melony, Checking availability… Navy drawing, 5749831-

007, Wire Rope Assy, NSN 4101-01-317-6375”.

     51.   On December 7, 2018, MIRABAL emailed ERICE’s Gmail

account, following up on his request from November 30, 2018:

“Melony, Any luck on this one.”

     52.   Agents reviewed a SAAR for FITTING’s access to the

U.S. Navy JEDMICS, and are aware that FITTING was assigned User

ID “NAVSD00127”.    Agents also reviewed an Excel spreadsheet

containing Navy JEDMICS download activity for User ID

“NAVSD00127”.    Based on my review of FITTING’s Navy JEDMICS

activity, I am aware that on December 8, 2018, FITTING accessed

drawing number 5749831 from JEDMICS.       Agents reviewed drawing

number 5749831, which appears to be a specification control

drawing related to a landing craft air cushion, cable assembly

ramp system.    The drawing is marked with Distribution Statement

D: “Distribution authorized to DoD and DoD Contractors only;

     9 Based on my review of the e-mails, I believe that the
sender of the email is a customer of NASC based in Torrance, CA,
because the name of the company in the e-mail is the same
company name in an invoice showing they purchased the drawing
from NASC.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 24 of 40 Page ID #:24



Critical Technology.     Other U.S. requests for this document

shall be referred to Puget Sound Naval Shipyard and Intermediate

Maintenance Facility, Boston Detachment.”        The document also

contains the following warning statement, “WARNING – This

document contains technical data whose export is restricted by

the Arms Export Control Act (Title 22 U.S.C. Sec 2841 et seq.)

or the Export Administration Act of 1979, as amended , Title 50

U.S.C. App 2401, et seq. Violations of these export laws are

subject to severe criminal penalties. Disseminate per the

provisions of OPNAVINST 5510.161..”       Based on my investigation

in this case, I do not believe FITTING had authority to access,

share, or sell drawing number 5749831.

     53.   On December 8, 2018, ERICE’s Gmail account emailed

MIRABAL: “Dean, Drawing 5749831 is available but I cannot send

it because the drawing has 2 sheets and sheet 2 is not

available…Also, part number 5749831-007 is not listed on Sheet

1…Regards, Melony”

     54.   On December 10, 2018, MIRABAL emailed the NASC

customer: “This drawing is not available for the reason. Drawing

5749831 is available but I cannot send it because the drawing

has 2 sheets and sheet 2 is not available… Also, part number

5749831-007 is not listed on Sheet 1”        The NASC customer

responded: “Dean, You can send what you have and consider

drawing order complete…Thanks, Frank”

     55.   Shortly after receiving the customer’s response,

MIRABAL emailed ERICE’s Gmail account: “Melony, Can you just

send me what you have.”
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 25 of 40 Page ID #:25



        56.   MIRABAL sent a follow-up email on December 14, 2018:

“Melony, Any luck.”

        57.   On December 16, 2018, ERICE’s Gmail account emailed

MIRABAL: “Dean, Yes. I can send sheet 1… Drawing 5749831 is a

Naval Sea Systems Command Drawing CAGE 53711. The nomenclature

is CABLE ASSEMBLY RAMP SYSTEM LANDING CRAFT AIR CUSHION. It is

marked “Export Controlled”. Please re-confirm and I will send

it”

        58.   On December 17, 2018, MIRABAL responded, “Please

send.”

        59.    On December 19, 2018, ERICE’s Gmail account emailed

MIRABAL: “Dean, The following drawings were sent yesterday

12/18/18. FedEx tracking # 812084953566. You should receive them

Friday…”      The email listed seventeen drawings, including 5749831

sheet 1.

              a.   FedEx records revealed that FedEx Tracking Number

812084953566 was sent by “MELONY GRU8CE” from the company “ME

ASSOCIATES” at the address “2388 Hepwell (sic) Rd. Berlin, NJ.”

Based on my review of Google Maps data, I am aware that the

FedEx pickup location is approximately 11.5 miles from FITTING’s

residence.     The FedEx package was sent to “GEOREGE (sic) POSEY”

at NASC’s business address in Newport Beach, California (SUBJECT

PREMISES 1) and was received by “D. MARABAL” on December 20,

2018.

        60.   On December 20, 2018, MIRABAL emailed the NASC

customer: “Frank, Attached is your invoice and drawing…”           The

email contained an invoice from NASC referencing drawing number
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 26 of 40 Page ID #:26



5749831 at a cost of $325, and an attached PDF containing

drawing number 5749831.

     61.     During their review of NASC’s bank records, agents

found a check made payable from NASC to ERICE dated December 20,

2018, in the amount of $5,025, that was sent to FITTING’s

residence.    The check was signed by POSEY IV.       The check was

deposited into ERICE’s Bank of America account on March 4, 2019,

at an ATM located in Berlin, New Jersey.

     62.     Between March 4, 2019 and March 11, 2019, there were

approximately $4,080 in cash withdrawals from ERICE’s Bank of

America account ending 7869 from ATMs located in Berlin, New

Jersey.     During that same period, approximately $930 was

transferred from ERICE’s Bank of America account ending 7869,

into which the check was deposited, to a separate Bank of

America account ending 3697 held in ERICE’s name, into which

ERICE receives her work-related income from Daher Socata.           Based

on my knowledge of their agreement to split proceeds from NASC

as discussed above, I believe that FITTING collected $4,080 of

the proceeds and ERICE received $930.

             3.   Additional Sales

     63.     Based on my review of email correspondence and

financial records, I believe that between September 21, 2012,

and June 20, 2019, FITTING and ERICE together unlawfully sold

NASC at least 5,000 government-controlled technical manuals and

drawings.    In exchange for the drawings and manuals, NASC issued

ERICE more than 150 checks, totaling more than $500,000, as

payment.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 27 of 40 Page ID #:27



        I.    Identification of SUBJECT PREMISES 1

        64.   The checks NASC paid to ERICE list the address for

SUBJECT PREMISES 1 under NASC’s name on the checks.          The

signature lines included in MIRABAL and POSEY IV’s NASC e-mails

list NASC’s address as SUBJECT PREMISES 1.        I reviewed business

records from the California Secretary of State and learned that

NASC operates at SUBJECT PREMISES 1.       I also reviewed FedEx

records that show FITTING and/or ERICE have shipped packages

from New Jersey to SUBJECT PREMISES 1.

        65.   Agents conducted surveillance in the vicinity of

SUBJECT PREMISES 1 on four occasions between August 12 and 20,

2020.    During the periods of surveillance, agents saw a male

matching the physical appearance of, and believed to be, MIRABAL

arrive at and enter SUBJECT PREMISES 1.        DMV records reveal that

MIRABAL arrived in a vehicle registered to him.         Relevant events

from the surveillance are as follows:

              a.   Agents began surveillance of SUBJECT PREMISES 1

on August 12, 2020, at approximately 9:30 a.m.         Agents saw

MIRABAL’s vehicle parked near SUBJECT PREMISES 1 until

surveillance was terminated at approximately 11:30 a.m.

              b.   On August 13, 2020, at approximately 7:20 a.m.,

agents saw MIRABAL exit his residence in Costa Mesa, California

and enter his vehicle.     Around 7:40 a.m., MIRABAL arrived at

SUBJECT PREMISES 1.     MIRABAL’s vehicle remained parked near

SUBJECT PREMISES 1 until surveillance was terminated at

approximately 11:30 a.m.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 28 of 40 Page ID #:28



           c.     On August 19, 2020, at approximately 07:21 a.m.,

agents again saw MIRABAL exit his residence and enter the

vehicle that is registered to him.       Around 7:39 a.m., MIRABAL

arrived at SUBJECT PREMISES 1.      MIRABAL’s vehicle remained

parked near SUBJECT PREMISES 1 until surveillance was terminated

at approximately 11:00 a.m.

           d.     On August 20, 2020, at approximately 07:35 a.m.,

agents saw MIRABAL approach, appear to unlock, and enter SUBJECT

PREMISES 1.     Agents also saw MIRABAL’s vehicle, which remained

parked near SUBJECT PREMISES 1 until surveillance was terminated

at approximately 9:30 a.m.

     66.   Based on the periods of surveillance and my knowledge

of this investigation, I believe that MIRABAL works for NASC at

SUBJECT PREMISES 1.

     67.   Agents did not see POSEY IV in the vicinity of SUBJECT

PREMISES 1 during the periods of surveillance.
     J.    Evidence, Fruits, and Instrumentalities of the Subject
           Offenses Will be Found at SUBJECT PREMISES 1

     68.   Prior to receiving information pursuant to the NASC

email warrant, on December 6, 2019, I sent Microsoft, Inc. a

preservation letter requesting that information associated with

the relevant NASC email addresses be preserved pursuant to 18

U.S.C. § 2703(f).     In response, a Microsoft employee informed

me, in pertinent part, of the following: The Enterprise data

covered by this request is owned and controlled by the customer.

The customer is solely in control of the administrator account

which allows the customer to retrieve information more quickly
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 29 of 40 Page ID #:29



and efficiently than Microsoft. The customer will accordingly

have the ability to disclose data to comply with lawful

requests.

              a.   I believe that when Microsoft, Inc. references

the customer, they are referring to NASC.        Further, agents

reviewed documents from Microsoft, Inc. that reflect the billing

address for NASC is SUBJECT PREMISES 1.        Accordingly, I believe

that, amongst other things, evidence demonstrating use and

control of the email accounts described herein will be located

at SUBJECT PREMISES 1.

        69.   As discussed above, financial records list SUBJECT

PREMISES 1 as the address of record for NASC.         Accordingly, I

believe that, amongst other things, financial records evidencing

payments for the stolen government-controlled technical drawings

and manuals described herein will be located at SUBJECT PREMISES

1.
        K.    Identification of SUBJECT PREMISES 2

        70.   Agents reviewed a uniform residential loan application

indicating that POSEY IV purchased SUBJECT PREMISES 2 in

approximately August 2017.

        71.   Agents conducted surveillance in the vicinity of

SUBJECT PREMISES 2 on four occasions between August 12 and 20,

2020.    During the periods of surveillance, agents saw two

vehicles parked outside of SUBJECT PREMISES 2.         DMV records

reflect that one of the vehicles is registered to “George M.

Posey” at SUBJECT PREMISES 2 and the other is registered to

“George M. Posey or NASC” at SUBJECT PREMISES 1.         Agents also
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 30 of 40 Page ID #:30



saw a male matching the physical appearance of, and believed to

be, POSEY IV leaving the residence in the mornings, consistent

with a resident.     Relevant events from the surveillance are as

follows:

            a.   On August 12, 2020, agents saw POSEY IV leave

SUBJECT PREMISES 2 at approximately 9:40 a.m. dressed in beach

attire.    POSEY IV drove away in the direction of the beach.

            b.   On August 13, 2020, agents saw POSEY IV leave

SUBJECT PREMISES 2 at approximately 9:30 a.m.

     72.    On August 19, 2020, agents saw POSEY IV leave SUBJECT

PREMISES 2 at approximately 9:00 a.m.

            a.   On August 20, 2020, saw POSEY IV leave SUBJECT

PREMISES 2 at approximately 7:30 a.m.

     73.    Based on the surveillance, and the lack of his

presence at SUBJECT PREMISES 1, agents do not believe that POSEY

IV has a regular schedule to arrive and work at NASC.          Agents

are aware that many companies are offering their employees

additional telework opportunities due to the COVID-19 pandemic

and suspect that POSEY IV may be working remotely in light of

the circumstances.    Regardless of the purpose, as described

further below, agents believe that POSEY IV regularly performs

NASC business from outside of the office, including from SUBJECT

PREMISES 2.
     L.     POSEY IV Performs NASC Business Outside of the Office

     74.    Agents reviewed several e-mails showing POSEY IV

conducts NASC business using an iPhone, often from outside of

the NASC office (SUBJECT PREMISES 1), including from his home
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 31 of 40 Page ID #:31



(SUBJECT PREMISES 2).     The following are examples of such

emails:

             a.   On November 9, 2017, at 11:35am, POSEY IV sent an

e-mail to accounting@newportaero.com, the subject line stated,

“Re: Bills to pay attached”.      POSEY IV said, “Release them all

besides Melony. Leave that one on my desk.        Please print a new

against report for Dean…”      Below POSEY IV’s signature line it

stated, “Sent from my iPhone”.

             b.   On December 13, 2019, at 9:08am, POSEY IV

forwarded an e-mail to MIRABAL.       Below POSEY IV’s signature line

it stated, “Sent from my iPhone”.

             c.   On December 23, 2019, at 8:20pm., POSEY IV

forwarded an e-mail to MIRABAL.       Below POSEY IV’s signature line

it stated, “Sent from my iPhone”.

             d.   On December 24, 2019, at 2:19pm , in reply to a

NASC customer seeking a Technical Order, POSEY IV replied,

“Fishing in Cabo, let me live…I’ll be back in the office on

Thursday.”    Below POSEY IV’s signature line it stated, “Sent

from my iPhone”.

             e.   On December 27, 2019, at 5:18am, POSEY IV

forwarded an e-mail to MIRABAL, and said, “Is this in stock?”

Below POSEY IV’s signature line it stated, “Sent from my

iPhone”.

             f.   On January 22, 2020, at 10:47am, POSEY IV

responded to an NASC customer who had inquired about the process

if they opted to order technical manuals from NASC.          POSEY IV

said, “Hi Ty, I am pretty sure you guys have terms with us.           I’m
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 32 of 40 Page ID #:32



working from home this am and don’t have QBs available.           We also

accept credit card.     Let me know how you would like to proceed.

I can email the CMM [Component Maintenance Manual] with a PO or

credit card payment…”

            g.     On January 30, 2020 at 2:48pm, POSEY IV sent an

e-mail to accounting@newportaero.com, the subject line stated,

“Re: I left checks to deposit, checks to mail out, payroll

checks and W-2 forms for you and George in my inbox in your

office – also, printer in my office is out of black ink”.           Below

POSEY IV’s signature line it stated, “Sent from my iPhone”.

     75.    Based on my review of NASC emails and my investigation

in this case, I believe that POSEY IV conducts NASC business

using an iPhone, often from outside of the NASC office (SUBJECT

PREMISES 1), including from his home (SUBJECT PREMISES 2).

Accordingly, I believe that evidence, fruits, and

instrumentalities of the Subject Offenses will be found at

SUBJECT PREMISES 2.
     M.     Evidence of Continued Criminal Conduct

     76.    Agents reviewed bank records and discovered that NASC

issued a check to ERICE, dated May 8, 2020, in the amount of

$6,925.    The check listed ERICE’s name and FITTING’s address in

the memo line, and was signed by POSEY IV.        The check was

deposited on May 21, 2020, at a Bank of America ATM in Berlin,

New Jersey.      Between May 22 and 26, 2020, cash withdrawals

totaling $5,000 were made from ERICE’s Bank of America account

at ATMs in Berlin, New Jersey.      The financial activity in

ERICE’s other Bank of America account suggest ERICE was in
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 33 of 40 Page ID #:33



Florida at the same time the financial transactions were taking

place in Berlin, New Jersey.

     77.   On August 12, 2020, the Honorable Karen L. Stevenson,

United States Magistrate Judge, in case number 2:20-MJ-03792,

issued an order pursuant to 18 U.S.C. § 2703(d) directing Google

LLC to provide certain non-content records associated with

ERICE’s Gmail account, to include header information showing

source and destination email addresses sent to or from her

account.   During a review of the information obtained from

Google LLC pursuant to that order, agents discovered continued

emails between ERICE’s Gmail account, FITTING’s Navy email

account, POSEY IV, and MIRABAL.       For example, on July 31, 2020,

FITTING's Navy email account e-mailed ERICE's Gmail account.

That same day, ERICE’s Gmail account e-mailed POSEY IV and

MIRABAL.   On August 12, 2020, ERICE’s Gmail account received an

email from FITTING's Navy email account and multiple emails from

MIRABAL.   ERICE’s Gmail account also e-mailed MIRABAL multiple

times that day.

     78.   The non-content records also included the IP addresses

used to access ERICE’s Gmail account.        During a review of those

IP addresses, agents discovered that FITTING and ERICE both

continue to access ERICE’s Gmail account.        For instance, on

August 10, 2020, an IP address

(2601:589:4480:560:9947:b460:d08c:dda3) that iplocation.com

geolocates to Pompano Beach, Florida, accessed ERICE's Gmail

account using an iPad.     Within two minutes of that access, the

IP address associated with FITTING’s Verizon account
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 34 of 40 Page ID #:34



(96.248.93.35 -- discussed above), accessed the account using an

Android device.    That same IP address also accessed ERICE's

Gmail account multiple times on August 12, 2020.

     79.   Based on my review of recent email correspondence

between FITTING, ERICE, POSEY IV, and MIRABAL, the non-content

records associated with ERICE’s Gmail account, and my

investigation in this case, I believe that FITTING, ERICE, POSEY

IV, and MIRABAL continue to engage in the unlawful procurement

of controlled technical drawings and manuals.         Based on the

recent periods of surveillance described above, the recent

emails between ERICE's Gmail account and POSEY IV and MIRABAL,

and my investigation in this case, I believe that evidence,

fruits, and instrumentalities of the Subject Offenses with be

found with SUBJECT PREMISES 1 and SUBJECT PREMISES 2.
     N.    NASC Unlawfully Obtains Government-Controlled
           Technical Drawings and Manuals from Additional Sources

     80.   Agents further believe that NASC unlawfully acquires

government-controlled technical drawings and/or manuals from

sources other than ERICE and FITTING.        In particular, during

their review of NASC emails described above, agents identified a

Yahoo email account, mroadvisor@yahoo.com (the “Yahoo

Supplier”), 10 that appears to be used to email NASC Air Force




     10On August 19, 2020, the Honorable Michael R. Wilner,
United States Magistrate Judge, Central District of California,
in case number 2:20-MJ-03792, issued an order pursuant to 18
U.S.C. § 2703(d) directing Oath Holdings Inc. (Yahoo) to provide
certain non-content records associated with the yahoo email
account mroadvisor@yahoo.com. Agents have not yet received such
information.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 35 of 40 Page ID #:35



technical orders (“TOs”).      TOs are government-controlled

technical manuals.

     81.    For example, on February 3, 2015, POSEY IV e-mailed

the Yahoo Supplier: “Mandy, Dean informed me you may have access

to TOs.    Can you please elaborate on what you have available?

Delivery and cost? Thank you”.

     82.    That same day, responding to POSEY IV's email, the

Yahoo Supplier replied: Hi Mac, Thank you for your interest.           I

have direct access to the Air Force Portal to which I get the

absolute latest revisions to T.O.'s!! I GUARANTEE you the latest

revision sent electronically at the time of request once it is

not a restricted one!..95 for oh/ipl 80 for o/h only 50 for ipl

only...Give me a try!! Hope to hear from you soon. Mandy”.

     83.    I reviewed PayPal records for PayPal accounts

belonging to NASC/POSEY IV and the Yahoo Supplier.          On July 2,

2020, a PayPal account associated with the POSEY IV email

account (mac@newportaero.com) 11 transferred $830 to the PayPal

account associated with the Yahoo Supplier.         Based on my

investigation in this case, I believe that the payment was for

the sale of government-controlled technical drawings and/or

manuals.

     84.    Based on my review of email correspondence and

financial records, I believe that between February 2015 and July

2020, the Yahoo Supplier sold NASC at least 870 government-




     11The address of record associated with the PayPal account
is SUBJECT PREMISES 1.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 36 of 40 Page ID #:36



controlled technical drawings or manuals.        In exchange, NASC

paid the Yahoo Supplier at least $82,825.
           V.    TRAINING AND EXPERIENCE ON DIGITAL DEVICES 12

     85.    Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

            a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.          Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.      Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

            b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been


     12As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 37 of 40 Page ID #:37



used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, email, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.      Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

     86.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 38 of 40 Page ID #:38



during a search of the premises for a number of reasons,

including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.      As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

     87.   The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.          To

unlock a device enabled with a fingerprint unlock function, a
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 39 of 40 Page ID #:39



user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.         I do not know

the passcodes of the devices likely to be found in the search.

           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress MIRABAL or POSEY IV’s thumb- and/or

fingers on the device(s); and (2) hold the device(s) in front of

MIRABAL or POSEY IV’s face with his or her eyes open to activate

the facial-, iris-, and/or retina-recognition feature.

     88.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.
                            VI.   CONCLUSION

     89.   For all the reasons described above, there is probable

cause to believe that FITTING, ERICE, MIRABAL, and POSEY IV have
Case 8:20-cr-00144-DOC Document 1 Filed 08/28/20 Page 40 of 40 Page ID #:40



committed a violation of Title 18, United States Code, Sections

641, 2(a) (Theft of Government Property; Aiding and Abetting).

     90.     Further, there is probable cause to believe that the

items listed in Attachment B, which constitute evidence, fruits,

and instrumentalities of violations of the Subject Offenses will

be found in the SUBJECT PREMISES, as described in Attachments A-

1 and A-2.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                  WK day of
telephone on this ____
 $XJXVW
_________, 2020.



UNITED
 NITED STATES MAGISTRATE JUDGE
